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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                       )
NO SPILL INC.,                         )
                                       )
                         Plaintiff,    )
v.                                     )   Case No. 18-cv-2681 JAR/KGG
                                       )
SCEPTER CORPORATION                    )
n/k/a 1216037 ONTARIO, INC.,           )
                                       )
and                                    )
                                       )
SCEPTER CANADA, INC.,                  )
                                       )
and                                    )
                                       )
SCEPTER MANUFACTURING LLC,             )
                                       )
                         Defendants.   )




      MEMORANDUM IN SUPPORT OF SCEPTER MANUFACTURING, LLC’S
          MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
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I.     NATURE OF THE MATTER BEFORE THE COURT

       Defendant Scepter Manufacturing, LLC (“Scepter Manufacturing”) respectfully moves the

Court to dismiss all claims in the Amended Complaint (Doc. 21) asserted against it.1

       No Spill asserts only two types of claims (contract and trade dress) against Scepter

Manufacturing.2 But No Spill does not and cannot adequately plead either. As to the contract

claims, No Spill fails to adequately plead at least two critical elements to establish a claim for

breach—that No Spill performed its obligations under the parties’ agreement and that it is entitled

to damages. As to the trade dress claims, No Spill similarly fails to adequately plead two required

elements to establish a claim for trade dress infringement—that its alleged trade dress is distinctive

and non-functional. Although No Spill amended its Original Complaint in an attempt to allege

additional facts to support its claims, No Spill’s Amended Complaint remains deficient.

Accordingly, even assuming the facts asserted in the Amended Complaint are true and viewed in

the light most favorable to No Spill, its claims against Scepter Manufacturing must be dismissed.

II.    CONCISE STATEMENT OF FACTS

       1.      The Amended Complaint includes six claims: two patent infringement claims

asserted against 1216037 Ontario, Inc. and Scepter Canada, Inc. (Doc. 21 ¶¶ 133-50), two breach

of contract claims asserted against Scepter Manufacturing (id. ¶¶ 151-239), and two trade dress




1
 The Amended Complaint adds Scepter Canada, Inc. and substitutes Scepter Corporation (which
no longer exists) with 1216037 Ontario, Inc. as Defendants. Based on the docket, Plaintiff No
Spill, Inc. (“No Spill”) has not yet served either new party.
2
  The central claims in this case are directed to another type of claim: patents. Although No Spill
asserts that “Scepter Manufacturing manufactures and sells within the United States” the products
that allegedly infringe its patents (Doc. 21 ¶ 88), No Spill only asserts these patent claims against
1216037 Ontario, Inc. and Scepter Canada, Inc.



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claims asserted against all Defendants (id. ¶¶ 240-56). This motion to dismiss only relates to the

claims asserted against Scepter Manufacturing.

       2. The Amended Complaint incorporates by reference a Supply Agreement entered

between No Spill and Scepter Manufacturing on or about September 6, 2013. Id. ¶ 157 (“No Spill

and Scepter Manufacturing entered into the Supply Agreement which is incorporated herein by

reference”); Supply Agreement (attached herein as Exhibit A).3

       3. This Supply Agreement provides specific procedures to which both parties must adhere

in order to maintain inventory (id. ¶ 4), submit purchase orders (id. ¶ 5), and to address delays (id.

¶ 6(d)). The Supply Agreement also provides specific terms that No Spill must meet in order to

exercise the option to purchase the specific molding machine and ancillary equipment used in the

production of the products upon termination of the parties’ Agreement. Id. ¶ 9.

       4.      No Spill alleges in its Amended Complaint that Scepter Manufacturing breached

the Supply Agreement in two ways: by failing to meet production requirements and by failing to

honor the purchase option.

       5. For failure to meet production requirements, No Spill alleges no facts related to the

performance of its obligations under the Supply Agreement to meet production requirements. For

failure to honor the purchase option, No Spill alleges no facts that establish that it met the terms

required to exercise the purchase option.

       6.      The Supply Agreement also recites a limitation of liability clause that precludes

“INCIDENTAL, INDIRECT, SPECIAL, CONSEQUENTIAL, EXEMPLARY OR PUNITIVE



3
  When evaluating a motion to dismiss, the court may consider “not only the complaint itself, but
also attached exhibits, . . . and documents incorporated into the complaint by reference.” Smith v.
United States, 561 F.3d 1090, 1098 (10th Cir. 2009) (citing Tellabs, Inc. v. Makor Issues & Rights,
Ltd., 551 U.S. 308, 322 (2007)).


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DAMAGES, INCLUDING WITHOUT LIMITATION, LOST PROFITS OR LOST REVENUES,

IN CONNECTION WITH ITS PERFORMANCE OR FAILURE TO PERFORM IN

CONNECTION WITH THE AGREEMENT.” Id. ¶ 13.

        7. As to failure to meet production requirements, No Spill seeks damages for “lost orders,

sales, revenues and profits.” Doc. 21 ¶ 217. As to failure to honor the purchase option, No Spill

seeks damages for “lost sales, revenue profits and market position.” Id. ¶ 239.

        8.     No Spill also alleges in its Amended Complaint that Scepter Manufacturing

infringes its trade dress under federal law and state law.

        9. No Spill alleges that the features of a gas can constitute its trade dress: red plastic with

a nozzle made from black plastic (Doc. 21 ¶ 122), an open handle on top of the fuel storage

container (id. ¶ 116), a nozzle next to the handle (id. ¶ 117), a tapered spout projecting horizontally

(id. ¶ 118), and a cap tethered to the spout on the underside of the spout (id. ¶ 120).

        10. No Spill states that its alleged trade dress is “ornamental” but alleges no facts to

demonstrate how its alleged trade dress is non-functional.

        11. No Spill states that it has advertised and sold its products but alleges no facts to

demonstrate that its alleged trade dress has a distinctiveness that establishes in the minds of the

public a secondary meaning that the source of the products is No Spill.

III.    QUESTIONS PRESENTED

        1.     Should the contract claims be dismissed when the Amended Complaint does not

adequately plead that No Spill has met its obligations under that contract?

        2.     Should the contract claims be dismissed when the Amended Complaint alleges

damages for lost profits, lost revenue, and other consequential damages that the contract precludes?




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       3.      Should the trade dress claims be dismissed when the Amended Complaint fails to

adequately plead distinctiveness and non-functionality?

IV.    LEGAL PRINCIPLES

       Federal Rule of Civil Procedure 8(a)(2) requires that a complaint contain “a short and plain

statement of the claim showing that the pleader is entitled to relief.” This short and plain statement

must be more than “an unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009). Rather, the statement must give the defendant adequate notice

of what the plaintiff’s claim is and the grounds of that claim. See Swierkiewicz v. Sorema N.A.,

534 U.S. 506, 512 (2002). A complaint that “tenders ‘naked assertion[s]’ devoid of ‘further factual

enhancement’” does not suffice. Iqbal, 556 U.S. at 678. To survive a motion to dismiss, a

complaint must present factual allegations, assumed to be true, that “raise a right to relief above

the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).

       The determination of the sufficiency of a claim is a two-step process. First, the court must

determine if the allegations are factual and entitled to an assumption of truth or merely legal

conclusions that are not entitled to an assumption of truth. Iqbal, 556 U.S. at 679. Second, the

complaint must contain “enough facts to state a claim to relief that is plausible on its face.”

Twombly, 550 U.S. at 570. Plausibility requires more than “a sheer possibility.” Iqbal, 556 U.S.

at 678. “Where a complaint pleads facts that are ‘merely consistent with’ a defendant’s liability, it

‘stops short of the line between possibility and plausibility of “entitlement to relief.”’” Id. (citing

Twombly, 550 U.S. at 557). Under this standard, “the mere metaphysical possibility that some

plaintiff could prove some set of facts in support of the pleaded claims is insufficient; the complaint

must give the court reason to believe that this plaintiff has a reasonable likelihood of mustering




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factual support for these claims.” Ridge at Red Hawk, LLC v. Schneider, 493 F.3d 1174, 1177

(10th Cir. 2007).

V.     ARGUMENT

       A.      No Spill’s Conclusory Statements of Performance Are Insufficient to
               Establish Breach, Thus Its Contract Claims Should Be Dismissed

       To establish a claim for breach of contract under Kansas law, plaintiff must allege: “(1) the

existence of a contract between the parties; (2) consideration; (3) the plaintiff’s performance or

willingness to perform in compliance with the contract; (4) defendant’s breach of the contract;

and (5) that plaintiff was damaged by the breach.” Britvic Soft Drinks, Ltd. v. ACSIS Techs., Inc.,

265 F. Supp. 2d 1179, 1187 (D. Kan. 2003) (emphasis added).

       Here, No Spill alleges that Scepter Manufacturing breaches two terms of the parties’

Supply Agreement: the production requirements and the purchase option. But the specific terms

impose obligations not just on Scepter Manufacturing but also on No Spill in order to be in

compliance with the Supply Agreement. Although No Spill alleges that it “has performed its

obligations under the Supply Agreement” (Doc. 21 ¶¶ 172, 215, 221), No Spill fails to allege facts

to support that conclusory statement. Thus, even assuming all facts in the Amended Complaint to

be true, No Spill fails to establish a claim for breach of contract that goes beyond mere possibility.

               1.      No Spill fails to plead adequate facts to establish all elements of
                       breach of production requirements to support Count III.

       No Spill alleges breach of contract for failure to meet production requirements by

refusing to keep the required levels of truck load inventory on hand (Doc. 21 ¶¶ 188, 191, 209),

refusing to supply order quantities submitted (id. ¶¶ 211-13), and refusing to manufacture No

Spill’s orders on weekends without additional charge (id. ¶¶ 207, 210). But none of these claims

is adequately pled because each lacks any facts to support at least one critical element to establish

a claim for breach—that No Spill performed its obligations under the Agreement. Rather, the only

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allegation related to No Spill’s performance of its obligations is a single conclusory statement that

“Plaintiff No Spill has performed its obligations under the Supply Agreement.” Id. ¶ 215. This

statement is plainly inadequate, particularly in light of No Spill’s clear obligations under the

Supply Agreement.

       With respect to inventory on hand, No Spill fails to allege any facts that it met its

obligations under the Supply Agreement to provide the necessary 14-day lead time and required

quarterly forecasts “to keep the required level of truck load inventory on hand necessary to respond

to orders.” Doc. 21 ¶ 188. As No Spill acknowledges, under the Supply Agreement, inventory

would “be used to fill new purchase orders and then replenished as used (FIFO).” Id. ¶ 163 (citing

Supply Agreement ¶ 4(a)). Thus, the Supply Agreement required No Spill provide “good faith

forecasts to Supplier at the beginning of each calendar quarter for the Product” and that “all

production will be made to purchase order based on a fourteen (14) day lead time.” Supply

Agreement ¶ 4. Although No Spill rattles off a list of inventory levels on certain dates, No Spill

noticeably fails to allege that it had given Scepter Manufacturing any forecasts or the 14-day lead

time, as required under the Supply Agreement, to replenish the inventory before each of these

dates. Ultimately, No Spill alleges no facts to establish how it met its obligations under the Supply

Agreement to allow Scepter Manufacturing to maintain the required inventory level.

       With respect to the failure to supply order quantities submitted, No Spill fails to identify

any order that it submitted to Scepter Manufacturing that was not fulfilled. The Supply Agreement

provides a specific procedure for supply orders to be submitted and accepted:

       Order Procedure. Buyer shall issue purchase orders for Product based on full truck loads.
       Each “Order” shall provide the type and quantity of Products required, the delivery
       destination and the delivery date. Supplier must accept or reject an Order within one (1)
       business day of receipt. No order will be deemed accepted unless Supplier confirms its
       acceptance.



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Supply Agreement ¶ 5. Accordingly, under the Supply Agreement, No Spill was required to issue

specific purchase orders. But No Spill identifies none that were accepted but not fulfilled. Rather,

the only specific event that No Spill points to as an alleged breach is an August 22, 2017

communication in which Scepter Manufacturing “announced it would not ship any product to No

Spill until Scepter Manufacturing replenished the inventory levels.” Doc. 21 ¶¶ 211-13. Setting

aside No Spill’s own allegation that Scepter Manufacturing declared a Force Majeure at this time

due to Hurricane Harvey (consistent with Paragraph 11 of the Supply Agreement) (Doc. 21 ¶ 64,

Ex. K), No Spill again fails to identify any specific orders that were submitted and accepted but

not fulfilled due to this announcement.

       Last, with respect to the refusal to manufacture orders on the weekends without charge,

there is no such requirement under the Supply Agreement. Despite this, No Spill attempts to read

in such a requirement under Paragraph 6(d) providing specific procedures for “Delays.” But even

assuming that this provision requires the manufacture of orders on the weekends without charge

(and it does not), No Spill fails to recite any facts that it performed its obligations under the

“Delays” provision of the Supply Agreement. The provision recites in full:

       Delays. Supplier understands and acknowledges that time is of the essence with regard to
       the delivery of the Products under this Agreement. If Supplier causes the Products to be
       delivered after the delivery date set out in the relevant Order, then Supplier shall reimburse
       Buyer for any out of pocket costs reasonably incurred and paid by Buyer to a third party
       because of Supplier’s failure to timely deliver the Products. In addition, Buyer may reject
       the shipment and cancel the relevant Order. However, if the late delivery of the Products
       is due to Buyer’s instructions, changes or modifications to the Products (a “Buyer Caused
       Delay”), the Supplier will not be responsible for any such out of pocket costs. Supplier
       will notify Buyer in writing at the time Buyer provides any instructions, changes or
       modifications as to whether such instructions, changes or modifications will result in a
       Buyer Caused Delay. Whenever an actual or potential labor dispute is delaying or threatens
       to delay timely delivery of the Products, Supplier shall immediately notify Buyer of such
       dispute and furnish all relevant details.




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Supply Agreement ¶ 6(d). Accordingly, the Supply Agreement specifically contemplates that two

types of delays may occur: Supplier caused delays (i.e., delays caused by Scepter Manufacturing)

or Buyer Caused Delays (i.e., delays caused by No Spill). To the extent that No Spill alleges that

Scepter Manufacturing refused to manufacture orders on the weekends, thereby causing delays,

this provision provides No Spill with two options: No Spill could pay for any out of pocket

expenses caused by the delay (which would then fall on Scepter Manufacturing to reimburse), or

No Spill could reject the shipment and cancel the relevant order. Again, No Spill fails to identify

any facts specific to the performance of its own obligations under this provision, which would be

required to establish a claim for breach.

       Removing legal conclusions, the Amended Complaint does not sufficiently state factual

allegations that establish that No Spill met its own obligation to meet production requirements

under the parties’ Supply Agreement. Accordingly, No Spill does not state a claim for breach of

contract on which relief is entitled.

               2.      No Spill fails to plead adequate facts to establish all elements of
                       breach of the purchase option to support Count IV.

       No Spill also alleges breach of contract based on Scepter Manufacturing’s alleged refusal

to honor a purchase option within the contract. Doc. 21 ¶¶ 218-39. But No Spill does not and

cannot allege facts sufficient to establish a breach of the Supply Agreement on this basis. In

particular, No Spill fails to allege that it requested to purchase the specific Bekum blow molding

machine under the specified pricing terms set forth in Exhibit D to the Supply Agreement within

the specified time period.

       No Spill alleges in its Amended Complaint that the following terms of the Supply

Agreement were breached by Scepter Manufacturing:

       226. Section 9 of the Supply Agreement states: “Option to Purchase Molding Machine
       and Ancillary Equipment. Upon expiration of the Term or other termination of this

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          Agreement, Buyer shall have the option, but not the obligation, to purchase the molding
          machine and ancillary equipment used in the production of the Products under the terms
          set forth in Exhibit D of this Agreement” [emphasis in original].

          227. Exhibit D to the Supply Agreement identifies a Bekum blow molding machine by
          serial number, with described ancillary equipment, with a specified Initial Value.

          228. Exhibit D to the Supply Agreement states: “At the end of the Term of this Agreement,
          Buyer shall have the option to purchase the above equipment at a value calculated by
          reducing the Initial Value by 5% for each full year that the Agreement had been in effect;
          this reduction not to exceed 50% of the Initial Value.”

Doc. 21 ¶¶ 226-28. But these provisions establish that No Spill had certain obligations to perform

in order to exercise the purchase option. First, No Spill only had the option to purchase the

specified equipment. In particular, No Spill could only purchase the Bekum blow molding

machine identified by Model BM-705D, Serial No. 204705-5-053. Second, No Spill had to

purchase this specific machine at a specified price. No Spill could only purchase the identified

Bekum blow molding machine at $388,800 (the initial value of $486,000 reduced by 5% for each

full year the Supply Agreement had been in effect). Third, No Spill could only exercise this option

at the end of the Term of the Agreement, not after. Indeed, the Supply Agreement provided that

this purchase option would not survive termination of the Supply Agreement. Supply Agreement

¶ 8(d).

          No Spill fails to allege facts that establish that it met these obligations. To the contrary,

No Spill only specifically states that two days before the termination of the Agreement, it “asked

defendant Scepter Manufacturing to state whether a different blow molding machine was being

used to manufacture the Products, provide information concerning the current machine being used,

and to provide an opportunity to inspect such equipment.” Doc. 21 ¶ 230. No Spill does not allege

that it specifically requested to purchase the Bekum blow molding machine identified by Model

BM-705D, Serial No. 204705-5-053. No Spill does not allege that it specifically requested to



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purchase the identified Bekum blow molding machine for $388,800. And No Spill does not allege

that it specifically requested to purchase the identified Bekum blow molding machine for the

specified pricing terms before the termination of the Supply Agreement.

       Accordingly, No Spill fails to adequately plead a claim for breach, and therefore, its

contract claims must be dismissed.

       B.      No Spill’s Contract Claims Under Counts III and IV Should Be
               Dismissed Because They Seek Damages Precluded Under the Contract

       The damages that No Spill seeks for its alleged contract claims under Counts III and IV are

foreclosed. To establish a claim for breach of contract, No Spill must establish that it is entitled

to damages as a result of that breach. Here, No Spill alleges damages only from lost profits, lost

revenue, and other consequential damages. But these damages are precluded under the plain

language of the Supply Agreement.

       The construction of a written contract is a question of law. Ponds ex rel. Poole v. Hertz

Corp., 158 P.3d 369, 372 (Kan. Ct. App. 2007). Generally, if the language in a written contract

“is clear and can be carried out as written, there is no room for rules of construction.” Gore v.

Beren, 867 P.2d 330, 337 (Kan. 1994) (quotation omitted). “In considering a contract which is

unambiguous and whose language is not doubtful or obscure, words used therein are to be given

their plain, general and common meaning, and a contract of this character is to be enforced

according to its terms.” Wagnon v. Slawson Exploration Co., 874 P.2d 659, 666 (Kan. 1994)

(quoting Barnett v. Oliver, 858 P.2d 1228, 1238 (Kan. Ct. App. 1993)).

       Here, there is no ambiguity that the Supply Agreement precludes lost profits, lost revenue,

and other consequential damages. The Supply Agreement expressly states:

       LIMITATION OF LIABILITY. NOTWITHSTANDING SECTION 15 BELOW, IN
       NO EVENT SHALL EITHER PARTY BE LIABLE FOR ANY CLAIM BASED ON
       ANY THIRD PARTY CLAIM AGAINST THE OTHER PARTY OR FOR
       INCIDENTAL, INDIRECT, SPECIAL, CONSEQUENTIAL, EXEMPLARY OR

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       PUNITIVE DAMAGES, INCLUDING WITHOUT LIMITATION, LOST PROFITS OR
       LOST REVENUES, IN CONNECTION WITH ITS PERFORMANCE OR FAILURE TO
       PERFORM IN CONNECTION WITH THE AGREEMENT, REGARDLESS OF
       WHETHER THE OTHER PARTY WAS ADVISED OF THE POSSIBILITY OF SUCH
       DAMAGES.

Supply Agreement ¶ 13. In Count III, No Spill alleges that Scepter Manufacturing’s “failure to

satisfy No Spill’s order requirements” resulted in “lost orders, sales, revenues and profits” but

these damages plainly fall under the “lost profits or lost revenues” precluded under the Supply

Agreement. Doc. 21 ¶ 217. Similarly, in Count IV, No Spill alleges that “Scepter Manufacturing’s

refusal to honor the purchase option” resulted in “lost sales, revenue, profits and market position”

but these damages also plainly fall under the consequential, lost profits, and lost revenues damages

precluded under the Supply Agreement. Id. ¶¶ 235, 239.

       Because No Spill only alleges damages that are precluded under the Supply Agreement,

No Spill does not state a claim for breach.

       C.      No Spill Does Not and Cannot Adequately Plead Distinctiveness and
               Non-Functionality, Thus Its Trade Dress Claims Should Be Dismissed

       No Spill’s Amended Complaint also purports to assert claims for trade dress infringement

under both federal and state law. To state either claim, however, No Spill must identify the specific

features of its gas can that allegedly constitute protectable trade dress. See Jenny Yoo Collection,

Inc. v. Essense of Australia, Inc., No. 17-2666-JAR-GEB, 2019 WL 1515236, at *4 (D. Kan.

Apr. 8, 2019). No Spill must then plead facts plausibly demonstrating that, and how, those gas

can features (1) are non-functional; and (2) have acquired distinctiveness, such that they identify

No Spill as the source of the gas can. See, e.g., Savant Homes, Inc. v. Collins, 809 F.3d 1133,

1147 (10th Cir. 2016) (analyzing elements of trade dress infringement under the Lanham Act);

Jenny Yoo Collection, Inc. v. Essense of Australia, Inc., No. 17-2666-JAR-GLR, 2018 WL

3744060, at *7-8 (D. Kan. Aug. 7, 2018) (considering trade dress claim under Kansas common


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law).

          No Spill does not and cannot meet this pleading standard, as the Amended Complaint fails

to adequately plead that No Spill’s gas can features are either non-functional or have acquired

distinctiveness. Rather, No Spill’s asserted features all appear facially functional, as they merely

allow a user to store, handle, and pour gasoline. Likewise, No Spill’s repetitive assertions that

various elements of its trade dress are “distinctive” does not make them so. Nor do No Spill’s

generalized sales and marketing efforts. Indeed, overcoming the presumption of functionality “is

no easy task” and establishing acquired distinctiveness is “often the greatest hurdle” for a trade

dress plaintiff. See Forney Indus., Inc. v. Daco of Mo., Inc., 835 F.3d 1238, 1244 (10th Cir. 2016);

C5 Med. Werks, LLC v. CeramTec GmbH, 249 F. Supp. 3d 1210, 1216 (D. Colo. 2017), appeal

argued, No. 17-1173 (10th Cir. Sept. 24, 2018). No Spill does not rise to the occasion here in

either instance, by overcoming the presumption of functionality or establishing distinctiveness,

and thus its claims should be dismissed.

                  1.      The features of No Spill’s alleged “trade dress.”

          No Spill purports to have trade dress rights in “gas cans with a distinctive plastic nozzle

assembly having a tapered spout,” as pictured below.4 See Doc. 21 ¶ 103. No Spill attempts to

narrow the claim by identifying the following specific features of its alleged gas can design:

          •   a gas can made from red plastic with a nozzle made from black plastic (id. ¶ 122);
          •   an open handle formed into the top of the fuel storage container of the gas can (id.
              ¶ 116);
          •   a nozzle assembly installed on the top of the gas can adjacent to the open handle (id.
              ¶ 117);
          •   a tapered spout projecting horizontally (id. ¶ 118); and
          •   a cap for covering the end of the spout, tethered to the spout with a flexible plastic strap
              secured to the underside of the spout (id. ¶ 120).

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    No Spill’s can is on the left; Scepter’s can is on the right. Doc. 21 ¶ 115.


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According to No Spill, these features are “not functional” and “are not needed for a competitor to

compete for sales.” Id. ¶¶ 116, 118–25.

       No Spill alleges that it has advertised and sold gas cans with these characteristics since

1989 through various third-party retailers nationwide, and that its cans were at some point best-

sellers in the “Outdoor Power Gas Can” category on Amazon. Id. ¶¶ 111-12. It further alleges

that “the product label that is affixed to a No-Spill can” shows “an outline of the No Spill Trade

Dress highlighted behind the word ‘No.’” Id. ¶ 110.

       However, No Spill tellingly has dropped two elements of its purported trade dress: “a

rotatable collar having spaced, elongated grips around the periphery of the collar. . . [which]

creates a favorable ornamental impression” (Doc. 1 ¶¶ 45-46) and the “decorative fin on the

underside of the spout” (id. ¶ 47).” No Spill apparently concedes that these features are either

functional or non-distinctive, which remains true of the remaining features it continues to claim.

               2.      No Spill’s alleged gas can design is functional on its face and
                       the Amended Complaint contains no factual allegations
                       demonstrating otherwise.

        “It is well established that ‘trade dress protection may not be claimed for product features

that are functional.’” Domo, Inc. v. Grow, Inc., No. 2:17-CV-812, 2018 WL 2172937, at *5 (D.

Utah May 10, 2018) (quoting TrafFix Devices, Inc. v. Mktg. Displays, Inc., 532 U.S. 23, 29

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(2001)). Trade dress is presumed functional. Product “features are deemed functional until proved

otherwise by the party seeking trade dress protection.” TrafFix Devices, 532 U.S. at 30; see also

15 U.S.C. § 1125(a)(3) (plaintiff asserting unregistered trade dress “has the burden of proving that

the matter sought to be protected is not functional”). A feature is functional if: (1) it is “essential

to the use or purpose of the article or if it affects the cost or quality of the article;” or (2) its

“exclusive use. . . would put competitors at a significant non-reputation-related disadvantage.”

Jenny Yoo, 2018 WL 3744060, at *6.

        These basic principles of trade dress law have been applied at the pleading stage to require

“the plaintiff to allege, in more than a conclusory fashion, that the trade dress taken as a whole is

non-functional.” Domo, 2018 WL 2172937, at *5; see also Virgin Scent, Inc. v. Bel Air Naturals

Care Corp., No. CV 17-08284-AB (RAOx), 2018 WL 5264145, at *4 (C.D. Cal. Feb. 8, 2018)

(requiring a trade dress plaintiff “allege how a trade dress is non-functional”); Dinkum Sys., Inc. v.

Woodman Labs, Inc., No. 14-CV-00152-PAB-KMT, 2014 WL 4437310, at *3 (D. Colo. Sept. 8,

2014) (dismissing claim where plaintiff “allege[d] no facts that describe[d] the nonfunctional

details of the ActionPod products’ ‘look and feel’”); Mike Vaughn Custom Sports, Inc. v. Piku, 15

F. Supp. 3d 735, 746–47 (E.D. Mich. 2014) (“[t]he failure to plead non-functionality with factual

particularity establishes merely the possibility and not the plausibility of [relief] and is therefore

fatal to Plaintiff’s trade dress claim.”).

        Here, No Spill fails to allege facts demonstrating how the alleged trade dress features of its

gas can design are, individually or collectively, non-functional. Rather, the Amended Complaint

relies on conclusory allegations that the design is non-functional and on logically fallacious

assertions that certain patently functional features are simply not so. See, e.g., Doc. 21 ¶¶ 107,

116, 118-21. No Spill’s efforts are insufficient to establish non-functionality at this juncture,



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particularly given that it “possesses all the facts about its product” and should be able to adequately

plead facts (not conclusions) about how these features are non-functional. See, e.g., Domo, 2018

WL 2172937, at *5 (“simply making a conclusory statement that its ‘features constitute a design

choice not driven solely by function’ is not sufficient to meet the Iqbal standard under Rule

12(b)(6)”).

       The absence of any factual, non-conclusory allegations addressing the functionality

question is particularly glaring here as the identified trade dress is so blatantly functional on its

face. At base, No Spill’s claimed features simply allow the user to do precisely what a gas can is

supposed to do—store, handle, and pour gasoline. Specifically, No Spill’s identified features

enable the user to pick up the gas can (Doc. 21 ¶ 116 (“open handle formed into the top of the fuel

storage container”)), open the gas can without misplacing the gas can’s cap (id. ¶ 120 (“[t]he cap

is tethered to the spout with a flexible plastic strap, secured at one end to the underside of the

spout”), pour gas from the can (id. ¶¶ 117-18 (“a nozzle assembly installed on the top of the gas

can adjacent [to] the open handle” with “a tapered spout projecting horizontally”)), and close the

gas can (id. ¶ 120 (“cap for covering the end of the spout”)).

       Indeed, No Spill’s additional allegations admit the functional nature of its trade dress.

No Spill alleges outright that its “handle performs a function,” yet claims its so-called ornamental

design “is not functional,” without any explanation of what exactly is “ornamental” about it. Id.

¶ 116; see Domo, 2018 WL 2172937, at *5 (rejecting plaintiff’s “conclusory statement that its

‘features constitute a design choice not driven solely by function’”); see also TrafFix, 532 U.S. at

33–34 (“the functionality of the spring design means that competitors need not explore whether

other spring juxtapositions might be used”). No Spill does not explain how, exactly, this basic

handle is “ornamental,” because it clearly is not, as shown here:



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It is functional. No Spill knows this and cannot plausibly plead to the contrary. See Ashcroft v.

Iqbal, 556 U.S. 662, 680, 682 (2009) (disregarding plaintiff’s allegations of “invidious

discrimination” because of the “more likely” and “obvious alternative explanation” that his arrest

was likely due to the “lawful and justified. . . nondiscriminatory intent” of the government to

“detain aliens who. . . had potential connections to. . . terrorist attacks”).

        Similarly, No Spill alleges “[t]here is no functional need to have a loose plastic strap

connected to the underside of the spout for tethering a cap” (Doc. 21 ¶ 120 (emphasis added)). No

Spill itself (again) admits there is a clearly functional purpose for the strap: to tether the cap to the

gas can so that it does not get lost. See Deckers Outdoor Corp. v. Fortune Dynamic, Inc., No. CV

15-769 PSG (SSx), 2015 WL 12731929, at *4 (C.D. Cal. May 8, 2015) (holding “Plaintiff’s

conclusory statement of non-functionality fails to sufficiently allege the element, particularly

because some features of the claimed trade dress do perform a utilitarian function in certain

contexts (i.e., buttons or adjustable overlapping flaps)”). This feature is (again) clearly functional

(as shown below), and No Spill’s conclusory allegations to the contrary only highlight the

absurdity of its allegations and claims.




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While No Spill may desire to disregard reality and common sense in asserting its claims, such

fantastical allegations should be rejected. See Iqbal, 556 U.S. at 679, 681 (“Determining whether

a complaint states a plausible claim for relief will. . . be a context-specific task that requires the

reviewing court to draw on its judicial experience and common sense” and “reject” conclusory

allegations, which are “not entitled to be assumed true”).

       Further, No Spill’s other perfunctory assertions of non-functionality should also be rejected

as conclusory and contrary to common sense. See Deckers Outdoor Corp., 2015 WL 12731929,

at *4. For example, No Spill posits that its tapered spout “is not functional.” Doc. 21 ¶ 118. Yet

there is a clear purpose for the tapering: the narrowed spout better controls the flow of gasoline

from the can and allows the nozzle to fit into smaller openings. Similarly, No Spill contends that

the horizontal angle of the tapered spout is “ornamental” and “not required to dispense fuel.” Id.

¶ 119. But it too is clearly driven by function: to allow the user to pour gas from the can at a

particular angle, i.e., without having to tilt the can further upside down.5

       Moreover, the red color of the can itself is indisputably functional, as gas cans are often

legally required to be red to alert consumers to the dangerous and flammable contents. See, e.g.,

29 C.F.R. § 1910.144 (“Red shall be the basic color for the identification of. . . [s]afety cans or

other portable containers of flammable liquids”); IOWA CODE ANN. § 214A.15 (“A person shall

not place gasoline. . . into any can, cask, barrel or other similar receptacle having a capacity in




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   No Spill’s reference to alternative product designs does not save its futile attempt to establish
non-functionality, as case law makes clear that “‘[t]he crucial determination is not the availability
of alternative designs, but whether the design at issue is ‘the reason the device works.’” C5 Med.
Werks, 249 F. Supp. 3d at 1217. In the words of our Supreme Court, “[t]here is no need . . . to
engage . . . in speculation about other design possibilities . . . which might serve the same purpose.
. . . [T]he functionality of the . . . design means that competitors need not explore whether other
. . . juxtapositions might be used.” TrafFix, 532 U.S. at 33-34.



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excess of one pint unless the same is painted bright red. . . ”); see also ASTM Standard F8526

(“The PFCs [portable fuel containers] intended for gasoline shall be predominately red in color.”).

No Spill’s combination of the (often mandated) color red with a black cap (see Doc. 21 ¶ 123)

does not transform its evidently functional product design into a protectable trade dress. See C5

Med. Werks, 249 F. Supp. 3d at 1221 (finding the color pink to be functional where it was “the

natural byproduct of the chromium that is used in the production of BIOLOX Delta”); cf. Inspired

By Design, LLC v. Sammy’s Sew Shop, LLC, No. 16-CV-2290-DDC-KGG, 2016 WL 6093778, at

*7 (D. Kan. Oct. 19, 2016) (“Prohibiting a competitor from. . . packaging its products with black

toile and black hang tags would hinder competition.”).

        Granting No Spill exclusive rights over such functional features individually or together

would severely harm competition and be a misuse of trade dress law. TrafFix, 532 U.S. at 29

(noting that “copying” of “functional” features is not “discouraged or disfavored by the law”

because it “preserve[s] our competitive economy” and has “salutary effects” for consumers).

No Spill’s reliance on conclusory allegations of non-functionality in an attempt to protect its

clearly functional design should be rejected.     See Iqbal, 556 U.S. at 681–82 (disregarding

plaintiff’s allegations due to “more likely” and “obvious alternative explanation[s]”). Because the

“only details” in No Spill’s complaint “describe elements that are undoubtedly functional,” its

claims must fail. See Dinkum Sys., 2014 WL 4437310, at *3 (dismissing claim).

               3.     No Spill fails to adequately plead that its gas can design has
                      acquired distinctiveness.




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 The American Society for Testing and Materials (“ASTM”) is an international standards
organizations that develops and publishes standards for certain industries, including portable
gasoline container industry.


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       No Spill’s trade dress claims should also be dismissed on the additional, independent

basis that the Amended Complaint fails to plead facts that plausibly show that No Spill’s gas can

design has acquired distinctiveness (i.e., secondary meaning in the minds of consumers).

       The Supreme Court has established that “a product’s design is distinctive, and therefore

protectible [sic], only upon a showing of secondary meaning.” Wal-Mart Stores v. Samara Bros.,

Inc., 529 U.S. 205, 215 (2000); see also Hammerton, Inc. v. Heisterman, No. 2:06-CV-00806 TS,

2008 WL 2004327, at *6 (D. Utah May 9, 2008) (noting that “courts have exercised particular

‘caution’ when extending protection to product designs.”). To establish secondary meaning, a

plaintiff must show that “in the minds of the public, the primary significance of [the trade dress]

is to identify the source of the product rather than the product itself.” Forney Indus., 835 F.3d at

1245. “Put differently, secondary meaning exists when ‘in the consumer’s mind the [trade dress]

denotes a single thing coming from a single source.’” Savant Homes, 809 F.3d at 1148 (quoting

Sally Beauty Co. v. Beautyco, Inc., 304 F.3d 964, 978 (10th Cir. 2002)).

       To that end, “[s]econdary meaning may be shown by direct evidence, such as consumer

surveys or testimony from consumers,” as well as through circumstantial evidence, such as:

       (1) the length and manner of the trade dress’s use; (2) the nature and extent of
       advertising and promotion of the trade dress; (3) the efforts made in the direction
       of promoting a conscious connection, in the public’s mind, between the trade dress
       and a particular product or venture; (4) actual consumer confusion; (5) proof of
       intentional copying; or (6) evidence of sales volume.

Savant Homes, 809 F.3d at 1148 (internal citations and quotation marks omitted); Domo, 2018

WL 2172937, at *3 (“the plaintiff should know and allege some essential facts [regarding

secondary meaning] even without the benefit of discovery” to survive dismissal). Importantly,

while “[t]he amount, scope, nature and duration of advertising” can be relevant to this inquiry,

“‘the critical question in considering the evidence is not the extent of the promotional efforts but



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their effectiveness in creating an association’ between the trade dress and [the] plaintiff.” Winning

Ways, Inc. v. Holloway Sportswear, Inc., 913 F. Supp. 1454, 1470 (D. Kan. 1996); see also Forney

Indus., 835 F.3d at 1254 (“[A]dvertising alone is typically unhelpful to prove secondary meaning

when it is not directed at highlighting the trade dress.”); Savant Homes, 809 F.3d at 1149

(“Standing alone, sales volume may not be indicative of secondary meaning because it could be

related to factors other than source identification.”).

       No Spill fails to adequately allege facts necessary to plausibly plead secondary meaning.

No Spill simply labels certain features of its gas can as “distinctive” or “ornamental” when

identifying its alleged trade dress. See, e.g., Doc. 21 ¶ 103 (“a distinctive plastic nozzle assembly

having a tapered spout” (emphasis added)), ¶ 118 (“[t]he ornamental design of the tapered spout”

(emphases added)).      Such conclusory pleading is plainly insufficient, as courts uniformly

recognize. See, e.g., Domo, 2018 WL 2172937, at *3 (“But Domo’s conclusory use of the word

‘distinctive,’ absent any factual allegations, is insufficient to adequately allege inherent

distinctiveness.”); Inspired By Design, 2016 WL 6093778, at *5 (“[P]laintiff just offers the

conclusory assertion that its trade dress is distinctive. . . . But the Tenth Circuit has rejected this

approach, holding that ‘merely reciting. . . elements [of an alleged trade dress] does not [establish]

inherent distinctiveness.’”) (quoting Savant Homes, 809 F.3d at 1149 (alterations in original)).

       Nor is it enough for No Spill to allege that it has “continuously and substantially advertised,

marketed and sold [its] gas cans. . . [s]ince at least as early as. . . 1989.” Doc. 21 ¶¶ 103-06.

Although No Spill’s amended complaint now includes allegations regarding its (unspecified)

“substantial” advertising expenditures (id. ¶ 104), (unspecified) “substantial[]” “increase[]” in

sales over the past five years (id. ¶ 106), and sales through various third-party retailers (id. ¶¶ 111-

12), it fails to adequately tether those efforts to its claimed trade dress. See Winning Ways, 913 F.



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Supp. at 1470 (explaining the “‘critical question’” is the advertising’s “‘effectiveness in creating

an association’ between the trade dress and [the] plaintiff’”); see also Domo, 2018 WL 2172937,

at *4 (rejecting plaintiff’s allegations “that its product has been advertised, marketed and sold

nationwide and throughout the world and has continuously featured a number of common design

elements” as “generic”). Every business advertises and sells products, but that does not mean that

every product advertised and sold qualifies for trade dress protection. See Domo, 2018 WL

2172937, at *4 (dismissing plaintiff’s claims because, while “[c]ontinuous marketing is a prudent

business practice, [] it hardly warrants an inference that a business achieved such recognition that

in the consumer’s mind its trade dress means a single thing coming from a single source”).

       Rather, to rely on advertising and sales as evidence of secondary meaning, a plaintiff must

establish that those efforts “creat[ed] an association between the trade dress and [the] plaintiff.”

Winning Ways, 913 F. Supp. at 1470. In an attempt to tie its trade dress to its ordinary business

practices, No Spill alleges in a conclusory fashion that its prior advertising has “prominently

highlighted” its trade dress—with no explanation as to when or how—and that its product labels

have included “an outline of the No Spill Trade Dress highlighted behind the word ‘No.’” Doc. 21

¶¶ 109-10.7 Yet these generic and non-specific allegations still fall short of establishing that its

trade dress has acquired secondary meaning. See Winning Ways, 913 F. Supp. at 1470; Inspired

By Design, 2016 WL 6093778, at *6 (finding particular sales volume evidence “insufficient”

where “plaintiff provide[d] no evidence tying its sales to its alleged trade dress”). Indeed, the

relevant question is not whether the advertising and sales efforts have emphasized the trade dress,

but whether those undertakings have been used to distinguish the trade dress as being tied to the


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  Notably, the “outline” of the No Spill trade dress depicted in paragraph 110 of the amended
complaint lacks several of No Spill’s claimed trade dress features, e.g., the coloring of the cap and
the strap tethering the cap to the nozzle. See Doc. 21 ¶¶ 110, 120, 122-23.


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plaintiff. See Predator Int’l, Inc. v. Gamo Outdoor USA, 669 F. Supp. 2d 1235, 1248 (D. Colo.

2009) (“‘Advertising that touts a product feature for its desirable qualities and not primarily as a

way to distinguish the producer's brand is not only not evidence that the feature has acquired

secondary meaning, it directly undermines such a finding.’” (parenthetically quoting Thomas &

Betts Corp. v. Panduit Corp., 65 F.3d 654, 662 (7th Cir. 1995)).

       Finally, No Spill’s assertion of trade dress rights over the color red—when used in

combination with a generic black cap—highlights its “misuse [and] overextension of trade dress”

law to stifle competition and (consequently) harm consumers. TrafFix Devices, 532 U.S. at 29;

see Doc. 21 ¶¶ 122-23 (“the gas can is made from red plastic”). There is no plausible way that red

could ever “identify the source of the product” (i.e., No Spill) because such coloring is often legally

required to be used on all gas cans and therefore cannot distinguish one manufacturer from another.

See Forney Indus., 835 F.3d at 1245; 29 C.F.R. § 1910.144 (“Red shall be the basic color for the

identification of. . . [s]afety cans or other portable containers of flammable liquids”); IOWA CODE

ANN. § 214A.15 (“A person shall not place gasoline. . . into any can, cask, barrel or other similar

receptacle having a capacity in excess of one pint unless the same is painted bright red. . . .”).

Granting No Spill the exclusive right to produce a red gas can with a generic black cap would not

only run counter to numerous state laws, but it would harm competition and potentially expose

consumers to unnecessary dangers.

       As No Spill cannot claim its product’s trade dress is inherently distinctive and it alleges

insufficient facts to support a plausible inference that its trade dress has acquired distinctiveness,

its conclusory allegations of distinctiveness must be rejected and its claims should be dismissed.




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VI.    CONCLUSION

       For the reasons above, Scepter Manufacturing, LLC respectfully requests the Court dismiss

all claims asserted against it for failure to state of claim for breach of contract (Counts III and IV)

and trade dress infringement (Counts V and VI).

                                               Respectfully submitted,

                                               FOULSTON SIEFKIN LLP


                                               By: s/ Holly A. Dyer
                                                     Jay F. Fowler, KS #10727
                                                     jfowler@foulston.com
                                                     T: 316.291.9541
                                                     Holly A. Dyer, KS #16644
                                                     hdyer@foulston.com
                                                     T: 316.291.9773
                                                     1551 N. Waterfront Parkway, Suite 100
                                                     Wichita, KS 67206-4466
                                                     F: 316.267.6345

                                                     LATHAM & WATKINS LLP
                                                     Robert Steinberg (pro hac vice)
                                                     bob.steinberg@lw.com
                                                     T: 424.653.5500
                                                     10250 Constellation Blvd.
                                                     Suite 1100
                                                     Los Angeles, CA 90067

                                                     Lisa K. Nguyen (pro hac vice)
                                                     lisa.nguyen@lw.com
                                                     T: 650.328.4600
                                                     140 Scott Drive
                                                     Menlo Park, CA 94025

                                                   Attorneys for Defendant
                                                   Scepter Manufacturing, LLC




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 1st day of May, 2019, I presented the foregoing to the Clerk of
the Court for filing and uploading to the CM/ECF system that will send notice of electronic filing
to counsel of record.


                                                     s/ Holly A. Dyer
                                                     Holly A. Dyer, KS #16644




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